Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page1of18

EXHIBIT A

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 2 of 18

STANDARD OFFICE LEASE
1140 GALAXY WAY, CONCORD, CA.

1, Basic Lease Provisions (Basic Lease Provisions”)

LI Parties: This Lease, dated, for reference purposes only, November 05, 2002, is made by and between 1140 Galaxy Way,
Inc, (herein called “Lessor”} and Invin Mortgage Corporation, an Indiana corporation, (herein called “Lessee”).

12 Premises: Suite Number 130, consisting of approximately 9,163 square feet, more or less, as defined in paragraph 2 and
as shown on Exhibit “A” hereto (the “Premises”,

13 Bullding: Commonly described as being located at 1140 Galaxy Way in the City of Concord, County of Contra Costa,
State of California, and as defined in paragraph 2,

14 User General Office Use including operations for regional headquarters, inclading office and administrative functions
and for any other legally permitted use, subject to paragraph 6,

15 Term: Six (6) years, one (1} mouth, commencing April I, 2003 (“Commencement Date”) and ending April 30, 2009, as
defined in paragraph 3,

16 Base Rent Schedule; Month } - $0.00; Months 2-25 - $11,914.50 per month; Months 26 — 49 - $12,331.00 per month;
Months 50 ~ 73 - $13,747.50 per month, All rentals shall be due and payable on the first day of each month, per paragraph 4,1,

1,7 Base Rent Yncrease: See Paragraph 1.6 above,

LS Rent Prepaid Upon Execution: $11,914.50 for May, 2003's rental] shall be Prepaid within thirty (30) days of the
execution of this Lease, Rental for the mouth of April 2003 has been abated,

1.9 Security Deposit; Waived.
4.10 Lessee's Share of Operating Expenses: 30.45% as defined in paragraph 4,2,
2. Premises, Parking and Common Areas:

24 Premises: The Premises are a portion of a building, herein sometimes referred to as the “Building” identified in
paragraph 1.3 of the Basic Lease Provisions, “Building” shal! include. adjacent parking structures used in connection therewith. The
Premises, the Building, the Common Aveas, the land upon which the same are located, along with all other buildings and
Taprovements thereon or therenhder, are herein collectively referred to as the “Office Building Project.” Lessor hereby leases to
Lessee and Lessee leases from Lessor for the term at the rental, and upon all of the conditions set forth herein, the real property
referred to in the Basle Lease Provisions, paragraph 1.2, as the “Premises,"* including rights to the Common Areas as hereinafter
specified, : .

22 Vehicle Parking: Subject to the rules and regulations attached hereto, and as established by Lessor from time to time,
Lessee shall be entitled to rent and use forty-one (41) parking spaces in the Office Building Project.

2.2.1  [fLesses commits any of the prohibited activities deserfsed in the Lease or the rules then in effect, then Lessor shall
have the right, without notice, in addition to such other rights and remedies that it may have, to remove or tow away the vehicle
involved and charge the cost to Lessee, which cost shall be immediately payable upon demand by Lessor,

3.2.2 The monthly parking rate per parking space will be $0.00 per month during the Term and each Option Term.

23 Common Areas-Definitton: The term “Common Areas” is defined as all areas and facilities outside the Premises and
within the exterior boundary line of the Office Building Project that are provided and designated by the Lessor from time to time for
the general non-exclusive use of Lessor, Lessee and of other lessees of the Office Building Project and their respective employees,
suppliers, shippers, customers and invitees, including but not limited to common entrances, lobbies, corridors, stairways and
stairwells, public restrooms, élevators, escalators, parking areas to the extent not otherwise prohibited by this Lease, loading and
unloading areas, trash areas, roadways, sidewalks, walkways, patkways, ramps, driveways, Jandscaped areas and decorative walls.

24 Common Areas-Rules and Regulations: Lessee agrees to abide by and conform to the rules and Tegulations attached
hereto as Exhibit B with respect to the Office Building Project and Common Areas, and to cause its employees, suppliers, shippers,
customers, eid invitees to so abide and conform. Lessor or such other person(s} as Lessor may appoint shall have the exclusive
control aid manegement of the Common Areas and shall have the right, from time to time, to modify, amend and enforce said rales
and regulations. Lessor shall not be responsible to Lessee for the non-compliance with said rules and regulations by other lessees,
their agents, employces and invitees of the Cffice Building Project,

25 Common Areas-Changes: Lessor shall have the right, in Lessor’s sole discretion, from time to time, and so long as

Lessee’s business is not matertally interrupted:

(@) To make changes to the building intérior‘and exterior and Common Areas, including, without limitation, changes in
the iocation, size, shape, number, and appearance thereof, including but not limited to the lobbies, windows, stairways, air shafts,
elevators, escalators, restrooms, driveways, entrances, parking spaces, parking areas, loading and unloading areas, ingress, egress,
direction of traffic, decorative walls, landscaped areas and walkways; provided, however, Lessor shal! at all times provide the parking
facilities required by applicable law;

(b) To close temporarily any of the Common. Areas for maintenance purposes so long as reasonable access to the
Premises remains available;

(c) To designate other and and improvements outside the boundaries of the Office Building Project to be a part of the
Conon Areas, provided that such other land and improvements have a reasonable and fictional relationship to the Office Building
Project;

- Cd) To add additional buildings and improvements to the Common Areas:

(e) To use the common Areas while engaged in making additional Improvements, repairs or alterations to the Office
Building Project, or any portion thereof /

(® To do and perform suck other acts and make such other changes in, to or with respect to the Common Areas and
Office Building Project aa Lessor may, in the exercise of sound business Judgment deem to be appropriate,

LeaselrwinMortgage3 1

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 3 of 18

not be obligated to pay rent or perform any other obligation of Lessee under the terms of this Lease, except as may be otherwise
provided in this Leage, until possession of the Premises is tendered to Lessee, as hereinafter defined; provided, however, that if Lessor

writing to Lessor within ten (10) days therenfter, cancel this lease, in which event the parties shell be discharged from all obligations
hereunder; provided, kowever, that, as to Lessee’s obligations, Lessor shall return any money previously deposited by Lessee (less any
offsets due Lessor for Non-Standard Improvements); end provided further, that if such written notice by Lessee is not received by
Lessor within said ten (10) day period, Lessee's right to cancel this Lease hereunder shall terminate and be of no further force or
effect.

Certificate of Occupancy and completion of Lessee improvements subject to a punchlist to be completed within 30 days, (2) the
Building utilities are ready for use in the Premises, and (3) Lessee has reasonabie access to the Premises,

3.2.2 Delays Caused by Lesscer There shall ba na abatement of rent and the one hundred eighty (180) day period
following the Commencement Date before which Lessee’s right to cancel this Lease accrues under Paragraph 3,2, shall bs deemed
extended to the extent of any delays caused by acts of omissions of Lessee, its agents, employees and contractors,

3.3 Early Possession: Tenant shal! be provided early possession of the Promises for purposes of installation of Tenant's

iture, fixtures and equipment (*FFE Period"). The FFE Period shall commence on the later of March 1, 2003 or the date of
substantial completion of the tenant improvements (subject to a punchlist te be completed within 30 days} but no Jeter than March 15,
2003. .

3.4 Uncertain Commencement: In the event commencement of the Lease term is later than April 1, 2003, Lessee and

Lessor shall execute an amendment to this Lease memorislizing the date of Tender of Possession {as defined in paragraph 3.2.1) or the
actual taking of possession by Lessee, whichever first occurs, as the Commencement Date.

4. Rent

41 Base Rent; Subject to adjustment as hereinafter Provided in paragraph 4,2 and except as may be otherwise expressly
provided in this Lease, Lessee shall pay to Lessor the Base Rent for the Premises set forth in paragraph 1.6 of the Basic Lease
Provisions, without offset or deduction. Lessee shal! pay Lessor within thifty (30) days of execution hereof the advance Base Rent

Year exceeds the amount of all Operating Expenses for the Base Year, such excess being hereinafter referred to as the “Operating
Expense Increase” in accordance with the following provisions:

(a) “Lessee’s Share” is defined, for Purposes of this Lease, as the percentage set forth in paragraph 1.10 of the Basic
Lease Provisions, which percentage bas been determined by dividing tle approximate square footage of the Premises by the total
approximate square footage of the rentable space contained in the Office Building Project, It is understood and agreed that the square

(b) “Base Year” is defined as the calendar year in which the Lease term commences,

(c) “Comparison Year" is defined as each calendar year during the term of this Lease subsequent to the Base Year;
provided, however, Lessee shall have no obligation to pay a share of the Operating Expense Increase applicable to the first twelve (12)
months of the Lease Term (other than such as are mandated by 8 governmental authority, as to which government mandated expenses
Lessee shall pay Lessee's Share, notwithstanding they occur during the first tweive (12)-months), Lessee’s Share of the Operating
Expense Increase for the first and Jast Comparison Years of the Lease Term shall te prorated according to that portion of such
Comparison Year as to which Lessee is responsible for a share of such increase,

(d) “Operating Expenses” is defined, for purposes of this Lease, to include all reasonable und actual costs, if any,
incurred by Lessor in the exercise of its reasonable discretion, for:

@ The operating, repair, maintenance, er:d replacement, in neat, clean, safe, good order and condition, of the Office

Building Project, including but not limited to, the following:

(a2) Tho Common Areas, including their surfaces, coverings, decorative items, carpets, drapes and window
coverings, and including parking areas, ioading and unleading sreas, trash areas, roadways, sidewalks, walkways, stairways,
parkways, driveways, landscaped areas, striping, bumpers, irrigetion systems, Common Area lighting facilities, building exteriors and
roofs, fences and gates; . .

(bb) All heating, air conditioning, plumbing, electrical systems, life safety equipment, telecommunication
and other equipment used in common by, or for the benefit of, lessees or occupants of the Office Building Project, including elevators
and escalators, tonant directories, fire detection systems including sprinkler system maintenance and Tepair.

Gi) Trash disposal, janitorial and security services; .

(iii) Any other services to be provided by Lessor that is elsewhere in this Lease stated to b an “Operating Expense”:

(iv) The cost of the premiums for the liability, and property insurance policies to be maintained by Lessor under
paragraph 8 hereof:

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 4of 18

(¥} Tho amount of the real property taxes to be paid by Lessor under paragraph 10.1 hereof

(vi) The cost of water, sewer, gas, electricity, and other publicly mandated services to the Office Building Project;

(vii) Labor, salaries and applicable fringe benefits and costs, materials, supplies and tools, used in Taintaining
and/or cleaning the Office Building Project and accounting and g management fee attributable to the operation of the Office Building
Project;

(viii) Replacing and/or adding improvements mandated by any governmental agency and any repairs or removals
necessitated thereby amortized over its useful life sccording to Federal Income tax regulations of guidelines for depreciation thereof
(Caclading interest on the unamortized balance as is then reasonable in the judgment of Lessor’s accountants);

(i) Replacements of equipment or improvements that have a useful life for depreciation purposes according to

” Federal income tax guidelines of five (5) years or less, as amortized over such life.

{e) Operating Expenses shall not include the costs of replacements of equipment or improvements that have a useful Life
for Federal income tax purposes in excess of five (3) years unless it is of the type described in paragraph 4.2(d)}(iii}, in which casa their
cost shall be included as above provided,

(f) Operating Expenses shall not include any expenses paid by any lessee directly to third parties, or a3 to Which Lessor js
otherwise reimbursed by any third party, other tenant, or by insurance proceeds.

{g) Lesses's Share of Operating Expense Increase shall be payable by Lessee within thirty (30)-days after a reasonably
detailed statement of actual expenses is presented to Lessee by Lessor. At Lessor’s option, however, an amount may be estimated by
Lessor from time to time in advance of Lessee’s Share of the Operating Expense Increase for any Comparison Year, and the same

excess to Lessee within thirty (30) days of issuance of said statement. If Lessee’s payments under this paragraph during said
Comparison Year were less than Lessee’s Shere as indicated on said statement, Lessee shall pay to Lessor the amount of tho
deficiency within ten (10) days after delivery by Lessor to Lessee of suid statement, Lessor and Lessee skell forthwith adjust between
them by cash payment any balance determined to exist with respect to that portion of the last Comparison Year for which Lessee fs
responsible as to Operating Expense Increases, notwithstanding that the Lease term may have terminated before the end of such
Comparison Year. Lessor’s managing agent shall retain the books of account for at least twelve (12) months after the delivery of
Lessor's accounting statement to Lessee, Lessee, or its authorized apent, shail bave the right, within the tweive (12) month period
after receiving Lessor’s accounting statement, upon thirty (30) days prior written notice to Lessor, to inspect, at Lessor’s local offices,
Lessor’s books and records regarding Operating Expenses and Property Taxes. In the event Lessee’g audit shall disclose that Lessor
has overstated Lessee’s Percentage Share of Operating Expenses and Property Taxes by ten percent (10%) or more during any one
accounting year, then Lessor shall pay for the reasonable cost of said audit. If billing discrepancy does not excced (10%), then Lessee
"shall pay for the full cost of the audit and any other related Lessor, or raanagement costs. Any refund due to Lessee shall be payable
in any event, .
3 Security Deposit —_ Intentionally Deleted,
6 Use :

6.1 Use, The Premises shall be used and occupied only for the purpose set forth In paragraph 1.4 of the Basic Lease
Provisions and for no other purpose. .
62 Compliance with Law.

‘ (a) Lessor warrants to Lessee that the Premises, Building and all building systems in the state existing on the date
that the Lease term commences,. but without regard to alterations or improvements made by Lessee or the use for which Lessee will
occupy the Premises, does not violate any covenants or restrictions of record, or any applicable building code, regulation or ordinance
in effect on stich Lease term Commencement Date, In thie event it is determined that this warranty has been violated, then it shall be
the obligation of the Lessor, after written notice from Lessee, to promptly, at Lessor’s sole cost and expense, rectify any such
violation.

. (b) Except as provided in paragraph 6.2(a) Lesseo shall, at Lesses’s expense, promptly comply with all applicable
Statutes, ordinances, rules, regulations, orders, covenants and restrictions of record, and requirements of any fire insurance
underwriters or rating bureaus, now in effect or which may hereafter come into effect, whether or not they reflect a change in policy
from that now existing, during the term or any part of the term hereof, relating in any manner to the Premises and the occupation and
use by Lessee of the Promises. Lessee shall conduct its business in a lawful manner, and shall not use or permit the use of the
Premises or the Common Areas in any manner that will tend to create waste or a nuisanca or shall tend to disturb other occupants of
the Office Building Project, : .

6.3 Condition of Premises

(a) Lessor shall deliver the Premises to Lessee in a clean condition on the Lease Commencement Date (unless
Lessee is already in possession) and Lessor warrants to Lessee that the plumbing, lighting, air conditioning, and heating system in the
Premises shall be in good operating condition for a period of six {6} months from the Tender of Possession, In the event that it is
determined that this warranty has been violated, then it shall be the obligation of Lessor, after receipt of written notice from Lessee
setting forth with specificity the nature of the violation, to promptly, at Lessor’s sole cost, rectify such violation,

(b) Except as otherwise provided in this Lease, Lessee hereby accepts the Promises and the Office Building Project
in their condition existing as of the lease Commencement Date or the date that Lessee takes possession of the Premises, whichever is
earlier, subject to all applicable zoning, municipal, county and state laws, ordinances and regulations goveming and regulating the use
of the Premises, and any easements, covenants or restrictions of record, and accepts this Lease subject thereto and to all matters
disclosed thereby and by any exhibits attached hereto, Lessee acknowledges that neither Lessor nor Lessor's agent or agents hes made
any representation or warranty ag to-the present or future suitability of the Premises, Common Areas, or Office Building Project for
the conduct of Lessee’s business,

7. Maintenance, Repairs, Alterations and Common Area Services
71 Lessor's Obligations. Lessor shail keep the Office Building Project, including the premises, interior and exterior walls,
roof, and common areas and the equipment whether used exclusively for the Premises or in common with other premises, in good

LeaselrvinMortgage3 3

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page5of18

condition and repair; provided, however, Lessor shall not be obligated to paint, repair or replece wall coverings, or to repair or replace
- any improvements that are not ordinarily a part of the Building or are above then Building standards, Except as provided in paragraph
9.5, there shall be no abatement of rent or liability of Lessee on account of any injury or interference with Lessea'’s business with

(a) Notwithstanding Lessor’s obligation to keep the Premises In good condition and repair, Lessee shall be responsible
for payment of the cost thereof to Lessor as additional rent for that portion of the cost of any maintenance and repair of the Premises,

normal wear and tear. Lessee shall be responsible for the cost of painting, repairing or replacing wail coverings, and to repair or
replace any Premises improvements that are not ordinarily a part of the Building or that area above the Building standards,

(b) On the last day of the term hereof, or on any sooner termination, Lessee shall surrender the Premises to Lessor in the
same condition as received, ordinary wear and tear excepted, clean and free of debris, Any damage or deterioration of the Premises
shall not be deemed ordinary wear and tear if the same could have been prevented by good maintenance practices by Lessee. Lessee
shal] repair any damage to the Premises occasioned by the installation or removal of Lessee’s-trade fixtures, alterations, fumishings
and equipment. Except as otherwise stated in this Lease, Lesses shall leave the air lines, power panels, electrical distribution systems,
Hghting fixtures, air conditioning, window coverings, wall coverings, carpets, wall paneling, ceilings and plumbing on the Premises
and in good operating condition,

73 Alterations and Additions,

(@} Lessee shall not, without Lessor’s prior written consent make any alterations, improvements, additions, Utility
Installations, or repairs in, on or about the Premises in excess of $5,000.00, Ay used in this paragraph 7.3 the term “Utility
Installation” shell mean carpeting, window and wall coverings, power panels, electrical distribution systems, lighting fixtures, air
conditioning, plumbing, and telephone and telecommunication wiring and equipment. At the expiration of the term, Lessor may
require the removal of any or all of gaid alterations, improvements, additions or Utility Installations, and the restoration of the
Premises and the Office Building Project to their prior condition, at Lessee's expense, Should Lessor pertnit Lessee to make its own
alterations, improvements, additions or Utility Installations, Lessee shall use only such contractor as has been expressly approved by
Lessor, and Lessor may requite Lessee to provide Lessor, at Lessee’s sole cost and expense, a Hen and completion bond in an amount
equal to one and one-half times the estimated cost of such improvements, to insure Lessor against any liability for mechanic's and
taterialmen’s Tiens and to insure completion of the work, Should Lessee make any alterations, irnprovements, additions or Utility
Installations without the prior approval of Lessor, or use a contractor not expressly approved by Lessor, Lessor may, at any time
during the term of this Lease, require that Lessee remove any part of all of sate,

conditioned upon Lessee acquiring a permit to do so from the applicable governmental agencies, furnishing a copy thereof to Lessor
Prior to the commencement of the w rk, and compliance by Lessee with all conditions of said permit in a prompt and expeditious
Taanner. . :

{c) Lessee shall pay, when due, all claims for-labor or materials furnished or alleged to have been furnished to or for
Lessee at or for use in the premises, which claims are or may be seoured by any mechanic's oy materialmen's lien against the
Premises, the Building or the Office Building Project, or any interest therein, ,
. (d) Lessee shall give Lessor not less than ten (10) days’ notico prior to the commencement of any work in the Premises
by Lessee, and Lessor shall have the right to post notices of non-responsibility in or on the Premises or the Building as provided by

trom the effect of such lien or claim, In addition, Lessor may require Lessee to pay Lessor's reasonable aitomeys fees and costs in
participating in such action if Lessor shall decide it is to Lessor's best interest se to da, :

(e) All alterations, improvements, additions and Utility Installations (whether or not such Utility Installations constitute
trade fixtures of Lessee), which may be made to the premises by Lessee, including but not limited to, floor coverings, paneling, doors,
drapes, built-ins, moldings, sound attenuation, and Hghting and telephone or communication systems, conduit, wiring and outlets, shall
be made and done in a good and workmanlike manner and of good and sufficient quality and materials and shall be the property of
Lessor and remain upon and be surrendered with the Premises at the expiration of the Lease term, unless Lessor Tequires their removal
pursuant to paragraph 7.3 (a). Provided Lessee is.not in default, notwithstanding the provisions of this paragraph 7,3 (e}, Lessee’s
personal property and equipment, other than that which is affixed to the Premises so that it cannot be removed without matetial
damage to the Premises or the building, and other than Utility Instaliations, shall remain the property of Lessee and may be removed
by Lessee subject to the provisions of paragraph 7.2.

(f} Lessee shall provide Lessor with as-built plans and specifications for any alterations, improvements, additions or
Utility Installations, .

TA Ditility Additions, Lessor reserves the right to install new or additional utility facilities throughout the Offics Building
Project for the benefit of Lessor or Lessee, or any other lessee of the Office Building Project, including, but not by way of limitation,
such utilities as plumbing, electrical systems, security systems, communications systems, and fire protection and detection systems, so
Jong as such installations do not unreasonably interfere with Lessee’ use of the Premises,

8. Insurance; Indematty

81 Liability Insarance -— Lessee; Lessee shall, at Lessee’s expense, obtain and keep in force during the term of this Lease a
policy of Compreheusive General Liability insurance utilizing an Insurance Services Office standard form with Broad form General
Liability Endorsement (GL0404), or equivalent, in an amount of not Jess than $1,000,000 per occurrence of bodily injury and property
damage combined or in a greater amount as reasonably determined by Lessor and shal! igure Lessee with Lessor as an additional

LeasolrwinMortgage3 : 4

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 6 of 18

insured against Hability arising out of the use, Occupancy or maintenance of the Premises. Compliance with the above requirement
shall not, hol wever, Limit the liability of Lessee hereunder.

82 Liability Insurance -- Lessor. Lessor shall obtain and kesp in force during the term of this Lease a policy of Combined
Single Limit Bodily Injury and Broad Form Property Damage Insurance, plus coverage against such other risks Lessor deems
advisable ftom time to tie, insuring Lessor, but not lessee, against lability arising out of the ownership, use, occupancy or
maintenance of the Office Building Project in an amount not less than $5,000,000,00 per occurrence.

83 Property lusurance ~ Lessee. Lessee shall, at Lessee's expense, obtain and keep in force during the term of this Lease

also cover all Operating Expenses for said period. Lessee will not be named fn any such policies catried by Lessor and shall have no
right fo any proceeds therefrom. The policies required by these Paragraphs 8,2 and 8.4 shall contain such deductibles as Lessor

3.5 Insurance Policies, Lessee shall deliver to Lessor copies of Hability insurance policies required under paragraph 8.1 and

8.7 Indemnity. Except for the gross negligence or willful misconduct of the other party, each party shall indemnify and hold
harmless the other party, its respective agents, shareholders, officers, directors, employees, Lessor’s master or ground lessor, partners
and lenders, from and against any and all claims for damage to the person or Property of anyone or any entity arising from the use of

proceeding be brought against it by reason of any such matter, that party upon notice shall defend the same at its expense and shall

8.91 No Representation of Adequate Coverage, Lessor makes no Tepresentation that the limits or forms of coverage of
insurance specified in this paragraph 8 are adequate to cover Lessee’s property or obligations under this Lease,
9. Damage or Destruction, ,

91 Definitions, . ' .

(@) “Premises Damage” shail mean if the Premises are damaged or destroyed to any extent,

(b) “Premises Building Partial Damage” shall mean {f thé Building of which the Premises are a part is damaged or destroyed to
* the extent that the cost to repair is leas than fifty percent (50%) of the then Replacement Cost of the Building.

(c} “Premises Building Total Destraction" shall mean ifthe Building of which the Premises are a part is damaged or destroyed to
the extent the cost to repair if fifty percent (50%) or more of the Replacement Cost of the Building.

(d) “Office Building Project Buildings" shall mean all of the building so n the Office Building Project sits.

(e) “Office Building Project Building Total Destruction” shall meant if the Office Building Project Buildings are damaged or
destroyed to the extent that the cost of repairs is fifty percent (50%) or more of the then Replacement Cost of the Office Building
Project Buildings, .

(f) “Insured Loss” shal! mean damage or destruction which was caused by an event required to be covered by the insurance
described in paragraph 8, The fact that an Insured Loss has a dedhictible amount shall not make the loss an uninsured loss,

(g) “Replacement Cost” shall moan the amount o money necessary to be spent in order to repair or rebuilt the damaged area to the
condition that existed immediately prior to the damage occurring, excluding all improvements made by legsees, other than those
installed by Lessor at Leasee’s expense. .

9.2 Premises Damage; Premises Building Partial Damage:

(a) Insured Loss: Subject to the provisions of Paragraph 9.4 and 9.5, if at-any time during the term of this Lease there is
damage which is an Insured Loss and which falls into the classification of either Premises Datiage or Premises Building Partial
damage, then lessor shall, as soon as teasonably possible and to the extent that required materials and labor are teadily available
through usual commercial channels, at Lessor’s expense, repair such damage (but not Lessee's fixtures, equipment or tenant
improvements originally paid for by Lessee) to its condition existing af the time of the damage, and this Lease shall continue in full
force and effect. ,

(b) Uninsured Loss: Subject to the provision’ of paragraphs 9.4 and 9.5, if at any the during the term of this Lease there
is damage which is not an Insured Loss and which falls within the classification of Premises Damage or Premises Building Partial
Damage, unless cased by a negligent or willful act of Lessee (in which event Lessee shall make the repairs at Lessee's expense),
which damage prevents Lessee from making any substantial use of the Premises, Lessor may at Lessor’s option either (i) repair such

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 7 of 18

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damage as soon as reasonably possible at Lessor’s expense, in which event this Leaso shall continue in full force aud effect, or fi)
give written notice to Lessee within thirty (30) days after the date of the occurrence of such damage of Lessor’s intention to cancel and
terminate this Lease as of the date of the occurrence of such damage, in which event this Lease shall ferminate as of the date of the
occurrence of such damage,

93 Premises Building Total Destruction: Office Building Project Total Destruction. Subject to the provisions of
. paragraphs 9.4 and 9.5, if at any time during the tenn of this Lease there is damage, whether or not it is an Insured Loss, which falls
into the classifications of either (1) Premises Building Total Destruotion, or (ti) Office Building Project Total Destruction, then Lessor

(a) Subject to paragraph 9.4(b), if at any time doring the last twelve (12) mouths of the term of this Lease there is
substantial damage to the Premises, Lessor may at Lessor's option cancel and terminate this Lease as of the date of occurrence of such
damage by giving written notica to Lessee of Lessor's election to do so within 30 days after the date of occurrence of such damage.

any term or provision in the grant of option to the contrary,
O58 Abatement of Rent; Lessce’s Remedies;

(a) In the event Lessor repairs of restores the Building or Premises pursuant to the provisions of this paragraph 9, and any
part of the Premises are not usable (including loss of use due to loss of acceas or essential services), the rent payable hereunder
(including Lessee’s Share of Operating Expenses) for the period during which such damage, repair or restoration continues shall be
abated, provided (1) the damage was not the result of the negligence of Lessee, and (2) such abatement shall only be to the extent the
operation and profitability of Lessee's business as operated from tha Premises is adversely affected, Except for said abatement of rent,
if any, Lessee shall have no claim against Lessor for any damage suffered by reason of any such damage, destruction, repair or
restoration,

{c) Lessee agrees to cooperate with Lessor in connection with any such restoration and repair, including but not limited
to the approval and/or execution of plans and specifications required. .
5.6 Termination — Advance payments, Upon Termination of this Lease pursuant to this Paragraph 9, an equitable
adjustment shall be made concerning advance rent and any advance payments made by Lessee to Lessor.

9.7 Watver, Lessor end Lessee waive the provisions of any statute which relate to termination of leases when leased
Property is destroyed and agree that such event shall be governed by the terms of this Lease, . .

10. Real Property Taxes ,

10.4 Payment of Taxes, Lessor shall pay the rea! property tax, as defined In paragraph 10,3, applicable to the Office Building
Project subject to reimbursement by Lessee of Lessee” Share of such taxes in accordance with the provisions of paragraph 4.2, except
as otherwise provided in paragraph 10.2, .

10.2 Additional Improvements. Lessee shall not be responsible for paying any increase in real property tax specified in the
tax assessor's records and work sheets as being caused by additiona) improvements placed upon the Office Building Project by other
lessees or by Lessor for the exclusive enjoyment of ay other lessee, Lessee shall, however, pay to Lessor at the time that Operating
Expenses are payable under paragraph 4.2(c) the entirety of any increase in real property tax if assessed solely by reason of additional
improvements placed upon the Premises by Lessee or at Lessee’s request.

10.3 Definition of “Real Property Tax.” As used herein, the term “real property tax" shall include any form of real estate tax or
assessment, general, special, ordinary or extraordinary and any license fee, commercial rental tax, improvement bond or bonds, levy or
tax (other than inheritance, personal income or estate taxes) imposed on the Office Building Project or any portion thereof by any
authority having the direct or indirect power to-tax, including any city, county, state or federal government, or any school, agricultural,
sanitary, fire, street, drainage or other improvement district thereof, as against any legal or equitable interest of Lessor in the Office
Building Project or in any portion thereof, as against Lessor's right to rent or other income therefrom, and as against Lessor’s business
of leasing the Office Building Project or in any portion thereof, as against Lessor's right to rent or other income therefrom, and as
against Lessor’s business of leasing the Offica Building Project. The term “real Property tax” shall also include any tax, fee, levy,
assessment or charge (i) in substitution of, partially or totally, any tax, fee, levy, assessment or charge hereinabove included within the
definition of “real property tax,” or in the nature of which was hereinbefore included within the definition of “real property tax,” or
(ii) which is imposed for a service or right not charge prior to June 1, 1978, or, if previously charged, has been increased since June 1,
1978, or (iv) which is imposed as a result of a change in ownership, a3 defined by applicable local statutes for property tax by reason
of such change of ownership, or (¥) which is imposed by reason of this transaction, any modifications or changes hereto, or any
transfera hereof.

10.4 Joint Assessment. If the improvements or Property, the taxes for which are to paid separately by Lessee under paragraph
10.2 er 10.5 are not separately assessed, Lessea’g portion of that tax shall be equitably determined by Lessor from the respective
valuations assigned in the assessor's work sheets or such other information (which may include the cost of construction) as may be
reasonably available. Lessor's reasonable determination thereof, in good faith, shall be conclusive,

LeaselrwinMortgape3 6

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 8 of 18

i053 Personal Property Taxes.

(2) Lessee shall pay prior to delinquency all taxes assessed apai and levied upon trade fixtures, furnishings, equipment and
all other personal property of Lessee contained in the Premises or elsewhere,

(b) If any of Lessee's said pareonal property shal! be assessed with Lessor’ real property, Lessee shall pay to Lessor the
taxes attributable to Lessee within ten (10) days after receipt of a written statement setting forth the faxes applicable to Lessee's
Property.

11. Utilities

Ai.1Services Provided by Lesser. Lessor shall provide heating, ventilation, air conditioning, reasonable amounts of electricity
for normal lighting and office machines, water for reasonable and normal drinking and lavatory use, and replacement light bulbs
and/or fluorescent tubes and ballasts for standard overhead fixtures,

11.2Services Exclusive to Lessee, Lessee shall pay for all water, gas, heat, light, power, telephone and other utilities and
services, including janitorial, specially or exclusively supplied and/or metered exclusively to the Premises or to Lessee, together with
any taxes thereon, [fany such services are not separately metered to the Premises, Lessee shall pay at Lessor’s option, either Lessee’s
Share or a reasonable proportion to be determined by Lessor of al! charges jointly metered with other premises in the Building.

11.3Hours of Service, Intentionally Deleted.

11,4Excess Usage by Lessee, Lessee shall not make connection to the utilities except by or through existing outlets and shall not
install or use machinery or equipment in or about the Premises that uses excess water, lighting or power, or suffer or permit any act
that causes extra burden upon the utilities or services, including but not limited to security services, over standard office usage for the
Office Building Project. Lessor shall require Lessee to reimburse Lessor for any excess Oxpenses or costs that may arise out of a
breach of this subparagraph by Lessee, Lessor may, in its sole discretion, install supplemental equipment and/or separate metering
applicable to Lessee’s excesd usage or loading.

i1.5Interruptions, There shall be no abatement of rent and Lessor shall not be liable in any respect whatsoever for the
inadequacy, stoppage, interruptions or discontinuance of aly utility or service due to riot, strike, labor dispute, breakdown, accident,
repair or other cause beyond Lessor’s reasonable cotitro9l or in cooperation with governmental request or directions,
12, Assignment and Subletting.

_Wansfer or eneumber all or any part of Lessee’ interest in the Lease or in the Premises, without Lessor's prior written consent, which
Lossor shall not unreasonably withhold. Lessor shall respond to Lessee’s request for consent hereunder in a timely manner and any
attempted assiguutent, transfer, mortgage, encumbrance or subletting without such consent shall be void, and shall constitute a

12.2.1 Lessee Affiliate. Intentionally Deleted.
12.3 Terms and Conditions Applicable to Assignment and Subletting,

(a) Regardless of Lessor's consent, no assignment or subletting shall release Lessee of Lessee's obligations hereunder
or alter the primary liability of Lessee ta pay the rent and other sums due Lessor hereunder including Lessee's Share of Operating
Expenses, and to perform all other obligations to be performed by Lessee hereunder,

(b) Lessor may accept rent from any person other than Lessee pending approval or disapproval of such assignment.

(c) Neither a delay in the approval or disapproval of such assignment or subletting, nor the acceptance of rent, shall
constitute a waiver or estoppel of Lessor's Tight to exercise its remedies for the breach of any of the terms or conditions of this
paragraph 12 of this Lease, ,

(d) [f Lesseo’s obligations under this Lease have been guaranteed by third parties, then an assignment or sublease, and
Lessor's consent thereto, shall not be effective unless said guarantors give their written consent to such sublease and the terms thereof.

(e) The consent by Lessor to any assignment or subletting shall not constitute a consent to any subsequent assignment
or subletting by Lessee or to any subsequent or successive assignment or subletting by the sublesses, However, Lessor may consent to
subsequent subletting and assignments of the sublease or any amendments or modifications thereto without notifying Lessee or
anyone else liable on the Lease or sublease and without obtaining their consent and such action shel! not relieve such persons from
liability under this Lease or said sublease; provided, however, such persons shall not be responsible to the extent any such amendment
or modification enlarges or increases the obligations of the Lessee or subless¢e under this Lease or such sublease,

noe, (f) In the event of any defautt under this Lease, Lessor may proceed directly against Lesace, any guarantors, or any one
else responsible for the performanca of this Lease, including the sublesses, without: first exhausting Lessor” remedies against any
other person or entity responsible therefor to Lessor, or any security held by Lessor or Lessea,

(g) Lessor’s written consent fo any assignment or subletting of the Premises by Lessee shall not constitute an
acknowledgement thet no default then exists under this Lease of the obligations to be performed by Lessee nor shall such consent be
deemed a walver of any then existing default, except es may be otherwise stated by Lessor at the time.

(hj) The discovery of the fact that any financial statement relied upon by Lessor in giving its consent to an assignment or
subletting was materially fulse shall, at Lessor’s election, render Lessor's said consent null and void.

12.4 Additional Terms and Conditions Applicable to Subletting. Regardless of Lessor’s consent, the following terms and
conditions shell apply to any subletting by Lessee of all or any part of thé Premises and shall be deemed included In all subleases
under this Lease whether or not expressly incorporated therein:

. (a) Lessee hereby assigns and transfers to Lessor all of Leasee’s interest in all rentals and income arising from any
sublease heretofore or hereafter made by Lesses, and Lessor may collect such rent and income and apply same toward Lessee's
obligations under this Lease; provided, however, thet until a default shall occur in the performance of Lessee's obligations under this
Lease, Lessee, after first deducting its reasonable and customary expenses for subletting, may receive, collect and enjoy fifty percent
(50%) of any rents accruing under such sublease, which are in excess of Leases’s rental obligations under the Lease. Lessor shall not,
by reason of this or any other assignment of such sublease to Lessor nor by reason of the collection of the rents from a subleseee, be
deemed liable to the sublessee for amy failure of Lessee to perform and comply with any of Lessea's obligations to such sublessee
under such sublease, Lessee hereby irrevocably authorizes and directs any such sublessee, upon receipt of a written notice from

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 9 of 18

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Lessor stating that a default exists in the performance of Lessee’s obligations under this Lease, to pay to Lessor the rents due and to
become due under the sublease, Lessee agrees that such sublessee shall have the right to rely upon any auch statement and request

(b) No sublease entered into by Lessee shall be effective unless and until it has been approved in writing by Lessor. In
entering into any sublease, Lessee shall use only such form of sublease as is satisfactory to Lessor, and once approved by Lessor, such
sublease shall not be changed or modified without Lessor’s prior written consent. Any sublesses shall, by reason of entering into a
sublease undet this Lease, be deemed, for the benefit of Lessor, to have assumed and agreed to conform and comply with each and
svery obligation herein to be performed by Lessee other than such obligations as are contrary to or inconsistent with provisions
contained in a sublease to which Lessor has expressly consented in writing. . :

(c) In the event Lessee shall defiult in the performance of its obligations under this Lease, Lessor, at its option and
without any obligation to de so, may roquire any subjessec to attom to Lessor, in which event Lessor shall undertake the obligations of
Lessee under such sublease from the time of the exercise of snid Option to the termination of such sublease; provided, however, Lessor
shall not be liable for any prepaid rents or security deposit paid by such sublessee to Lessee or for any other prior defaults of Lessee
under such sublease,

(d) No sublessee shal? further assign or sublet all or any part of the Premises without Lessor’s prior written consent.

125 Lessor's Expenses, In the event Lessee shall assign or sublet the Premises or request the consent of Lessor to any

” assignment of subletting or if Lessee shall request the consent of Lessor for any act Lessee Proposes to do then Lessee shall pay

Lessor's reasonable costs anc expenses incurred in connection therewith, including attomeys’, architects’, engineers’ or other
consultants’ fees, which shall not exceed $500 per occurrence,

12.7 Sublease Profits, Lessee shall share any sublease profits with Lessor on a $094/50% basis after first deducting Lessee’s
reasonable costs to sublet the Premises,

128 Lessee Affiliate, Notwithstanding the provisions of paragraph 12.1 hereof, Lessee may assign or sublet the Premises, or any
portion thereof, without Lessor’s consent, to any corporation which controls, is controlled by or is under common control with Lessee,
or to any corporation resulting trom the merger or consolidation with Lessee, or to any person or entity which acquires all the assets of
Lessee as a going concer of the business that is being conducted on the Premises, all of which ars referred to as “Lessee Affiliate”;
provided that before such assignment shall be effective, (a) said assignee shall assume, in full, the obligations of Lessee under this

13, Default; Remedies
13.4 Defauli, The occurrence of any one or more of the following events shall constitute a material default of this Lease by
Lesses;

(a) The vacation or abandonment of the Premises by Lessee, Vacation of the Premises shall include the failure to occupy
the Premises for a continnous period of sixty (60) days or more, without the payment of rent when due,

(6) The breach by Lessee of any of the covenants, conditions or provisions of paragraphs 8.3(a)}, (b), or (d) (alterations), 12.1
(assignment or subletting), 13,1(a) (vacation or abandonment), 13.1(e) (insolvency), 13,1(2) (false statement), 33 (auctions), or 41.1
(easements), all of which are hereby deemed to be material, non-curable defaults without the necessity of any notice by Lessor to
Lessee thereof, : .

(c) The failure by Lessee to make any payment of rent or any other payment required to be mtade by Lessee hereunder, as
and when due, where such failure shall continue for a period of five (5) business days after written notice thereof from Leasor to

(e} @ The making by Lessee of any general arrangement or general assignment for the benefit of creditors; (ii) Lessee
- becoming a “debtor” as defined in 11 U.S.C. § 101 or any successor statute thereto (unless, in the case of a petition filed against
Lessee, the same is dismissed within sixty (60) days; (iti) the appointment of a trustee or receiver to take possession of substantially ail
of Lessee's assets located at the Premises or of Lessee's interest in this Lease, where possession is pot restored to Lessee within thirty
(30) days; or (iv) the attachment, execution or other judicial seizure of substantially aif of Lessee's assets located at the Premises or of
Lessee’s interest in this Lease, where such seizure is not discharged within thirty (30) days. In the event that any provision of this
patagraph 13.1(s) is contrary to any applicable law, such provision shall be of no force or effect, .
(H The discovery by Lessor that any financial statement given to Lessor by Lessee, or its successor in interest or by any
guarantor of Lessee’s obligation hereunder, was materially false. ~ mo,

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 10 of 18

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13.2 Remedies. in the event of any material default or breach of this Lease by Lessee, Lessor may at any time thereafter, with
or without notice or demand and without limiting Lessor in the exercise of any right or remedy which Lessor may have by reason of
such default: .

(a) Terminate Lessee’s right to possession of the Premises by any lawful means, in which case this Lease and the term
hereof shal! terminate and Lessee shall immediately surrender possession of the Premises to Lessor, In such event Lessor shall be
entitled to recover from Lessee all damages incurred by Lessor by reason of Lessee's default including, but not limited to, the cost of
recovering posséssion of the Premises; expenses of reletting, including necessary renovation and alteration of the Premises, reasonable
attorneys’ fees, and any real estate commission actually paid; the worth at the Gime of award by the court having jurisdiction thereof of
the amount by which the unpaid rent for the balance of the term after the time of such award exceeds the amount of such rental loss for
the same period that Lessee proves could be reasonably avoided; that portion of the leasing commission paid by Lessor pursuant to
paragraph 15 applicable to the unexpired term of this Lease.

(b) Maintain Lessee’s right to possession in which case this Lease shall continue in effect whether or not Lessee shall have
vacated or abandoned the Premises. In such event Lessor shali be entitled to enforce all of Lessor’s rights and remedies under this
Lease, including the right to recover the rent as it becomes due hereunder.

{c) Pursue any other remedy now or hereafter available to Lessor under the laws or judicial decisions of the state wherein the
Premises are located. Unpaid installments of rent and other unpaid monetary obligations of Lessee under the terms of this Lease shall
* bear interest from the date due at the maximum rate then allowable by law. .

13.5 Default by Lessor, Lessor shall act be in default unless Lessor fails ta perform obligations required of Lessor within a
reasonable time, but in no event later than thirty (30) days after written notice by Lessee to Lessor and to the holder of any first
mortgage or deed of trust covering the Premises whose name and address shall have theretnfore been fumished to Lessee in writing,
specifying wherein Lessor has dailed to perform such obligation; provided, however, that if the nature of Lessor's obligation is such
that more than thirty (30) days are required for performance then Lessor shall not be in default if Lessor commences performance
within such 30-day period and thereafter diligently pursues the same to completion.

13.4 Late Charges. Lessee hereby acknowledges that.iate payment by Lessee to Lessor of Base Rent, Lessee’s Share of
Operating Expenses or other sums due hereunder will cause Lessor to incur costs not contemplated by this Lease, the exact amount of
which will be extremely difficult to ascertain, Such costs include, but are not limited to, processing and accounting charges, and late
charges which may be imposed on Lessor by the terms of any mortgage or trust deed covering the Office Building Project,
Accordingly, if any installment of Base Rent shall not be received by Lessor or Lessor’s designee within ten (10) days after such
amount shall be due, or if any installment of Operating Expenses, or any other sum due from Lessee shail not be received by Lessor or
Lessor’s designee within thirty (30) days after such ammount shall be due, then Lessee shall pay Lessor on demand as a late charge an
additional amount equal to six percent (6%) of the overdue payment. However, Lessor shall allow Lessee to submit one installment
after the due dats per calendar year without collecting the late charge. Lessee agrees that such late charge represents a fair and
reasonable estimate of the costs Lessor will incur by reason of late payment by Lessee, Acceptance of such late charge by Lessor shall
in. no event constitute a waiver of Lessec’s default with respect to such overdue amount, nor prevent Lessor from exercising any of the
otber rights and remedies granted hereunder.

14, Condemmation, If the Premises or any portion thereof or the Office Building Project are taken under the power of eminent
domain, or sold under the threat of the exercise of said power (all of which are herein called “condemnation”), this Lease shall
terminate as to the part so taken as of the date the condemning authority takes title or possession, whichever first occurs; previded that
if so much of the Premises or the Office Building Project are taken by such condemnation as would substantially and adversely affect
the operation and profitability of Lessee’s business conducted from the Premises, Lessee shall have the option, to be exercised only in
writing within thirty (30) days after Lessor shall have given Lessee written notice of such taking (or in the absence of such natice,
within thirty (30) days after the condemning authority shall have taken possession), to terminate this Lease as of the date the
conderming authority takes such possession, If Lessee does not terminate this Lease in accordance with the foregoing, this Lease shall
remain in full force and effect as to the portion of the Premises remaining, except that the rent and Lessee's Share of Operating
Expenses shall be reduced in the proportion that the floor area of the Premises taken bears to the total floor area of the Premises,
Common Areas taken shall be excluded from the Common Areas usable by Lessee and no reduction of rent shall occur with respect
thereto or by reason thereof. Lessor shall have the option in its sole discretion to terminate this Lease as of the taking of possession by
the condemning authority, by giving written notice to Lessee of such election within thirty (30) days after receipt of notice of a taking
by condemnation of any part of the Premises or the Office Building Project, Any award for the taking of all or any part of the
Premises or the or the Office Building Project under the power of eminent domain or any payment made under threat of the of the
exercise of such power shall be the property of Lessor, whether such award shail be made as compensation for diminution in value of
the leasehold or for the taking of the fee, or as severance damages; provided, however, that Lessee shall be entitled to any separate
award for Joss of or damage io Lessee’s trade fixtures, removable personal property and unamortized tenant improvements that have
been paid for by Lessee, For that purpose the cost of such improvements shall be amortized over the original term of this Lease
excluding any options, In the event that this Lease Js not terminated by reason of such condemnation, Lessor shall to the extent of
severance damages received by Lessor in connection with such condemnation, repair any damage to the Preruises caused by such
condemnation except to the extent that Lessee has been reimbursed therefor by the condemning authority. Lessee shall pay any
amount in excess of such severance damages required to complete such repair.

15, Broker's Fee,

(a) The brokers involved in this transaction are Cushman & Wakefield of California, Inc., which represents Landlord and
CM Realty. Corporation, which represents Tenant, Upon execution of this Lease by both parties, Lessor shall pay to Cushman &
Wakefield of California, Inc, a brokerage fee in the amount of $68,920.80 for brokerage services rendered by said brokers to Lessor in
this transaction. Out of this brokerage fee received by Lessor, Cushmen & Wakefield of California, Inc. shall pay CM Realty
Corporation $45,825.00 as its share and retain $23,095.80 as its compensation. . ‘

(b) Lessor agrees to pay said fee not only on behalf of Lessor but also on behalf of any person, corporation, association, or
other entity having an ownership interest in said-real property or any part thereof, when such fee is due hereunder, Any transferee of
Lessor’s interest in this Lease, whether such transfer is by agreement or by operation of law, shall be deemed to have assumed
Lessor’s obligation under this paragraph 15. Each listing and cooperating broker shall be a third pasty beneficiary of the provisions of
this paragraph 15-to the extent of their interest in any commission arising under this Lease and may enforce that right directly against
Lessor; provided, however, that all trokers having a right to any part of such total commission shall be a necessary party to any suit
with respect thereto. ,

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 11 of 18

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. (c) Lessee and Lessor each represent and warrant to the other that neither has had any dealings with any person, firm, broker
or finder (other than the person(s), if any, whose names are set forth in paragraph |3(a), above) in connection with the negotiation of
this Lease and/or the consummation of the transaction contemplated hereby, and no other broker or other person, finn or entity is
entitled to any commission or finder’s fee in connection with said transaction and Lessee and Lessor do each hereby indemnify and
hold the other harmless from and against any costs, expenses, attorney's fees or liability for compensation or charges which may be
claimed by any such unnamed broker, finder or other similar party by reason of any dealings or actions of the indemnifying party.

16, Estoppel Certificate,

, (a) Each party (as “responding party") shall at any time upon, not less than ten (10) days’ prior written notice from the other
party (“requesting party”) execute, acknowledge and deliver to the requesting party a statement in writing (i) certifying that this Lease
is unmodified and in full force and effect (or, if modified, stating the nature of such modification and certifying that this Lease, as so
modified, is in full force and effect} and the date to which the rent and other charges are paid in advances, if any, and (ii)
acknowledging that there are not, to the responding party's. knowledge, any uncured defaults on the part of the requesting party, or
specifying such defaults if any are claimed, Any such statement may be conclusively relied upon by any prospective purchaser or
encumbrancer of the Office Building Project or of the business of Lessee,

(b) The failure to deliver such statement within such time shall be conclusive upon such party that (i) this Lease is in full
force and effect, without modification except as may be represented by the requesting party, (if} there are no uncured defaults in the
requesting party's performance, and (iii) if Lessor is the requesting party, not more than one month's rent has been paid in advance
and furthermore dovs hereby make, make, constitute and irrevocably appoint the other as ifs attorney-in-fact and in its name, place and
stead, to execute such documents in accordance with this paragraph 16..

(c) If Lessor desires to finarice, refinance, or sell the Office Building Project, or any part hereof, Lessee hereby agrees to
deliver to any lender or purchaser designated by Lessor such financial statements of Lessee as may be reasonably required by such
lender or purchaser,

17, Lessor's Liability, The term “Lessor” as used herein shall mean only the owner or owners, at the time in question, of
the fee title or a lesses’s interest in a ground lease of the Office Building Project, and except as expressly provided in paragraph 15, in
the event of any transfer of such title or interest, Lessor.herein named {and in cage of any subsequent transfers then the grantor) shail
be relieved from and after the date of such transfer of all liability as respects Lessor's obligations thereafter to be performed, provided
that any finds in the hands of Lessor or the then grantor at the time of such fransfer, in which Lessee has an interest, shall be delivered
to the grantee, The obligations contained in this Lease to be performed by Lessor shall, subject as aforesaid, be binding on Lessor's
successors and assigns, only during their respective periods of ownership,

18. Severabllity. The invalidity of any provision of this Lease as determined by a court of competent jurisdiction shall In no way
affect the validity of any other provision hereof.

‘19. Interest on Past-Due Obligations, Except as expressly herein provided, any amount die to Lessor not paid when due shall bear
interest at the maximum rate then allowable by law or judgements from the date due. Payment of such interest shall not excuse or cure
any defauit by Lessee under this Lease: provided, however, that interest shall not be payable on late charges incurred by Lessee nor on
any amounts upon which late charges are paid by Lessee, - :

20. Time of Essence, Time is of the essence with respect to the obligations to be performed under this Lease.

21, Additional Rent. All monetary obligations of Lessee to Lessor under the terms of this Lease, including by not limited to
Lessee’s Share of Operating Expense and any other expenses payable by Lessee hereunder shal! be deemed to be tent.

22. Incorporation of Prior Agreements; Amendments, This Lease contains all agreements of the parties with respect fo any matter
mentioned herein, No prior or contemporaneous agreement or understanding pertaining to any such matter shall be effective. This
Lease may be modified in writing only, signed by the parties in interest at the time of the modification, Except as otherwise stated in
this Lease, Lesses hereby acknowledges that neither the real éstate broker listed in paragraph 15 hereof nor any cooperating broker on
this transactlon nor the Lessor or any employes or agents of any of said persons has made any oral or written warranties or
representations to Lessee relative to the condition or use by Lessee of the Premises or the Office Building Project and Lessee
acknowledges that Lessea assumes all responsibility regarding the Occupational Safety Health Act, the legal use and adaptability of
the Premises and the compliance thereof with all applicable laws and regulations in effect during the term of this Lease,

23, Notices, Any notice required or permitted to be given hereunder shall be in writing atid may be given by personal delivery or by
certified or registered mail, and shall be deemed sufficiently given if delivered or addressed to Lessee or to Lessor at the address noted
below or adjacent to the signature of the respective parties, as the case ‘tuay be, Mailed notices shall be deemed given upon actual
receipt at the address required, or forty-eight hours following deposit in the mail, postage prepaid, whichever first occurs. Either party
may by notice to the other specify a different address for notice purposes except that upon Lessee's taking possession of the Premises,
the Premises shall constitute Lessee’s address for notice purposes. A copy of ali notices required or permitted to be given to Lessor
hereunder shall be concurrently transmitted to such party or parties at such addresses as Lessor may from time to time hereafter
designate by notice to Lessee. Notices to Lessor shall be sent to: Attention! Jim Gilchrist, Transwestern Commercial Services, 3480
Buskirk Avenve, Suite 290, Pleasant Hill, CA. 94523, telephone: (925) 939-1209 and facsimile: (925) 939-1253, Notices to Lessee
shall be sent to: Attention: Aimee R. Hill, Irwin Mortgage Corporation, 9265 Counselor's Row, Indianapolis, IN 46240, telephone:
(317) 344-7788 and facsimile: (317) 573-8559; with a copy to: Lyle Shearer, Irwin Mortgage Corporation, 1140 Galaxy Way,
Concord, CA 94526, . .

24, Waivers, No waiver by Lessor of any provision hereof shall be deemed a waiver of any other provision hereof or of any
subsequent breach by Lessee of the same or any other provision, Lessor's Consent to, o approval of, any act shal] not be deemed to
render unnecessary the obtaining of Lessor’s consent to or approval of any subsequent act by Lessea, The acceptance of rent
hereunder by Lessor shall not be a waiver of any preceding breach by Lessee of any provision hereof, other than the failure of Lessee
to pay the particular rent so accepted, regardless of Lessor’s knowledge of such preceding breach at the thne of acceptance of such
rent,

25. Recording, Intentionally Deleted,

26. Holding Over, If Lessee provides Lessor with ninety days prior written notice, Lessee shall have the right to holdover for a
period up to three (3) months after the expiration of the initial Term or any extension Term thereof at one hundred ten percent (110%)
of the rent payable immediately preceding the termination date of this Lease, and all Options, if any, granted under the terms of this
Lease shall be deemed terminated and be of no further effect during said month to month tenancy. After the initial three (3) months as
per the above, the holdover rate shall be one hundred twenty five percent (125%) of the rent payable immediately preceding the

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 12 of 18

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termination date of this Lease, If Lessee does not deliver such three (3) month notice, and Lessee, with Lessor’s consent, retmnins in
possession of the Premises or any part thereof after the expiration of the term hereof, such occupancy shall be a tenancy from month to
menth vpon ali the provisions of this Lease portaining to the obligations of Lessee, except that the rent payable shall be one hundred
and twenty five percent (125%) of the rent payable immediately preceding the termination date of this Lease.

27, Cumulative Remedies. No remedy or election hereunder shall be deemed exclusive but shall, wherever possible, be cumulative

28, Covenants and Conditions, Each provision of this Lease performable by Lessee shall be deemed. both a covenant and a
condition. .

30, Subordination, .

(3) This Lease, and any Option or right of first refusal granted hereby, at Lessor’s option, shall be subordinate to any ground

lese, mortgage, deed of trust, or any other hypothecation or security now or hereafter placed upon the Office Building Project and to

any and all advances made on the security thereof and to all renewals, modifications, consolidations, replacements and extensions
thereof, Notwithstanding such subordination, Lessee’s Tight to quiet possession of the Premises shall not be disturbed if Lessee is not

in default and so long as Lessee shall pay the rent and observe and perform all of the provisions of this Lease, unless this Lease is

otherwise terminated pursuant to its terms. IF any mnortgage, trustee or ground lessor shall elect to have this Lease and any Options

granted hereby prior to the lien of its mortgage, deed of trust or ground lease, and shall give written notice thereof to Lessee, this

Lease and such Options shall be deemed prior to such mortgage, deed of trust or ground lease, whether this Lease or such Options are

dated prior or subsequent to the date of said mortgage, deed.of trust or ground lease or the dats of recording thereof.

(c) Provided Lessee is not in default of its obligations under this Lease, Lessor shall use its best efforts to provide a non-
disturbance agreement to Lessee within sixty days after the Commencement Date of this Lease.
31, Atterney’s Fees.

S11 If cither party or the broker(s) named herein bring an action to enforces the terms hereof or declare rights hereunder, the
prevailing party in any such action, trial or appeal thereon, shal] be entitled to his reasonable attorney's Tees to be paid by the losing
party as fixed by the Court in the same or a separate suit, and whether or not such action is pursued to decision or judgment. The
provisions of this paragraph shall inure to the benefit ofthe broker named hereiu who seeks to enforce a right hereunder.

31.2 The attomeys’ fee award shall not be computed in accordance with any court fes schedule, but shall be such as to filly
reimburse all attorneys’ fees reasonably incurred in good falth.

‘31.3 Lessor shall be entitled to reasonable attorneys’ fees and all other costs and expenses inowred in the preparation and
service of notices of default and consultations in connection therewith, whether or not a legal action is subsequently commenced in
connection with such default,

‘32, Lessor’s Access,

32.1 Lessor and Lessor’s agents shall have the right ta enter thd Premises at reasonable times and upon reasonable notice for the
purpose of inspecting the same, performing any services required of Lessor, showing the same to prospective purchasers, Tenders, or
lessees, taking such safety moasures, erecting such scaffolding or other necessary structures, making such alterations, repairs,

Building any ordinary “For Sale” signs and Lessor may af any time during the last 120 days of the tenm hereof’ place on or about the
Premises any ordinary “For Lease" signs, .

32.2 All activities of Lessor pursuant to this paragraph shall be without abatement of rent, nor shall Lessor have any liability to
Lessee for the same,

32.3 Lessor shail have the right to retain keys to the Premises and to unlock all doors in or upon the Premises other than to files,
vaults and safes, and in the case of emergency to enter the Premises'by any reasonably appropriate means, and any such entry shall not
be deemed a forceable or unlawful entry or detainer of the Premises or an eviction, Lessee waives any charges for damages or injuries
or interference with Lessee’s property or business in connection therewith,

33. Auctions, Lessee shall not conduct, nor permit to be conducted; either voluntarily or involuntarily, aay auction upon the premises
or the Common Arees without first having obtained Lessor's prior written consent. Notwithstanding anything to the contrary in this
Lease, Lessor shall not be obligated to exercise any standard of reasonableness in determining whether to grant such consent. The
holding of any auction on the Premises or Common Areas in violation of this paragraph shall constitute a material defanit of this
Lease, :

34. Sigus, Lessee shall not place any sign upon the Premises or the Office Building Project without Lessor’s prior written conseat.
Lessee shall have the non-exclusive right to place its sign Identification on the monument sign fronting the property at Lessce’s
expense, Additionally Lessee shall have the non-exclusive right, at Lessee’s sole expense, to place its sign identification on the
building eyebrow above its Premises, All signage requests including renderings and plans shall be first presented to Lessor for its
review and approval. Lessee’s signage shall be in building standard font, size and colors. Lessor shall require professional
installation and watertight conditions for any building penetrations, If required, Lessee shall also obtain the approval of the City of
Concord for its signage requests. Lessor shall reasonably cooperate with Lessea where necessary for Lesses to obtain its signage,
Under no circumstances shal! Lessee piace a sign on any roof ofthe Office Building Project,

35. Merger. The voluntary or other surrender of this Lease by Lessee, or a mutual cancellation thereof, or a termination by Lessor,
shall not work a merger, and shall, at the option of lessor, terminate all or any existing subtenancies or may at the option of Lessor,
operate as an assignment to Lessor of any or all of such subtenancies,

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Case 07-11047-CSS Doc1729-2  Filed-10/31/07 Page 13 of 18

36. Consents, Except for paragraphs 33 (auctions) and 34 (signs) hereof, wherever in this Lease the consent of one party is required
to an act of the other party such consent shall not be unreasonably withheld or delayed,
37, Guarantor. In the event that there is 4 guarantor of this Lease, said guarantor shall have the same obligations as Lessee under
this Lease, . .
38. Quiet Possession. Upon Lessee paying the rent for the Premises and observing and performing all of the covenants, conditions
and provisions on Lessee’s part to be observed and performed hereunder, Lessee shall have quiet possession of the Premises for the
entire term hereof subject to all of the provisions of this Lease, The individuals executing this Lease on behalf of Lessor represent and
warrant to Lessee that they are fully authorized aud legally capable of executing this Lease on behalf of Lessor and that such execution
is binding upon all patties holding an ownership interest in the Office Building Project,

subletting the Premises or any portion thereof, and may not be exercised or be assigned, voluntarily or involuntarily, by or to any
person or entity other than Lessee; provided, however, that at Option may be exercised by or assigned to any Lessee Affiliate as
defined in paragraph 12.2 of this Lease. The Options, if any, herein granted to Lesses ara not assignable separate and apart from this
lease, nor may any Option be separated from this Lease in any manner, efther by reservation or otherwise, : :

39.3 Multiple Options. In the event that Lessee has any multiple options to extend or renew this Lease a later option cannot be
exercised unless the prior option to extend or renew this Lease has bean so exercised,

) The period of time within which an Option mnay be exercised shall not be extended or enlarged by reason of
Lessee’s inability to exercise an Option because of the provisions of paragraph 39.4(2), ‘

(c} All rights of Lessee under the provisions of an Option shall terminate and be of no further force or effect,
notwithstanding Lessee's due and thnely exercise of the Option, if, after such exeroise and during the term of this Lease, (i) Lessee
fails to pay to Lessor a monetary obligation of Lessee for a periad of thirty (30) days after such obligation becomes due, or (ii) Lessee
fails to commence to cure a default specified in paragraph 13.1(d) within thirty (30) deys after the date that Lessor gives notice to

40. Security Measnres-Lessor’s Reservations.

40.1 Lessee hereby acknowledges that Lessor shall have no obligation whatsoever to provide guard service or other security
measures for the benefit of the Premises or the Office Building Project, Lessee assumes ati responsibility for the protection of Lessee,
its egents, and invitees, Lessor, at its option, may elect to provide security protection for the Office Building Project or any part
thereof, in which event the cost thereof shall be included within the definition of Operating Expenses, as set forth in paragraph 4.2(b).

40.2 Lessor shall have the following rights; :

(2) To change the name, address or title of the Office Building Project or building in which the Premises are located
upon not less than 90 days prior written notice, .

{b) To, et Lessor’s expense, provide and install Building standard graphics on the door of the Premises and at Lessee’s
expense, provide and install Building standard graphics on such portions of the Common Areas as Lessor shall reasonably deem
appropriate, ,

(c) To permit any lessee the exclusive Fight to conduct any business as long as such exclusive does not confilet with any
rights expressly given herein, .

(a) To place such signs, notices or displays as Lessor reasonably deems necessary or advisable upon the roof, exterior of
the buildings or the Office Building Project or on pole signs in the Common Areas :

40.3 Lessee shall not: .

(a) Use a representation (Photographic or otherwise) of the building or the Office Building Project or their name(s} in

connection with Lessee's business,

(b) Except in emergency, to go upon the roof of the Building.
44, Easements,
41,1, Lessor reserves to itself the right, from time to fime, to grant such easements, rights and dedications that Lessor deems
hecessary to desirable, and to cause the recordation of Parcel Maps and restrictions, so long as such easements, rights, dedications,
maps and restrictions do not unreasonably interfere with the use of tho Premises by Lessee. Lessee shall sign any of the

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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 14 of 18

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aforementioned documents upon request of Lessor and failure to do so shall enable the Lessor to execute such documents on behalf of
'- Lessee as Lessea's attorn y-in-fact, Lessee does hereby make, constitute and irrevocably appoint Lessor as Lessea’s attormey-in-fact
and in Lessee’s name, place and stead, to execute such documents in accordance with this paragraph 42. .

412 ‘The obstruction of Lessee's view, air, or light by any structure erected in the vicinity of the Building, whether by Lessor or
third parties, shall in no way affect this Lease or impose any Hability upon Lessor,

43,. Authority, If Lessee is a corporation, trust, or general or limited partaership, Lessee end each individual executing the Lease on
behaif of Such entity, represent and warrant that such individnal is duly authorized to execute and deliver thts Lease on behalf of said
entity, If Lessee is a corporation, trust or partnership, Lessee shall, within thirty (30) days after execution of this Lease, deliver to

44, Conilict, Any conflict between the printed provisions, Exhibits or Addenda of this Lease and the typewritten or handwritten
provisions, if any, shall be controlled by the typewritten or handwritten provisions.

45. Ne Offer, Preparation of this Lease by Lessor or Lessors agent and submission of same to Lessee shall not be deemed an offer
to Lessee to lease. This Lease shall become bitiding upon Lessor and Lessee only when fully executed by both parties,

46, Lender Modification. Losses agrees to make such reasonable modifications fo this Lease as may be reasonably required by an
institutional lender in connection with the obtaining of normal financing of the Office Building Project,

47, Multiple Parties. If more than one person or entity is named as either Lessor or Lessee herein, except as otherwise expressly
provided herein, the obligations of the Lessor or Lessee herein shall be the joint and several responsibility of all persons or entities
named herein as such Lessor or Lessea, respectively, . .

48, Attachments, Attached hereto are the following documents, which constitute a part of this Lease,
- Addendum -

IF THIS LEASE HAS BEEN FILLED IN IT HAS BEEN PREPARED FOR SUBMISSION TO YOUR ATTORNEY FOR HIS_
APPROVAL, NO REPRESENTATION OR RECOMMENDATION IS MADE BY THE REAL ESTATE BROKER OR ITS
AGENTS OR EMPLOYBES AS TO THE LEGAL SUFFICIENCY, LEGAL EFFECT OR TAX CONSEQUENCES OF THIS
LEASE OR THE TRANSACTION RELATING THERETO; THE PARTIES SHALL RELY SOLELY UPON THE ADVICE OF
THEIR OWN LEGAL COUNSEL AS TO THE LEGAL AND TAX CONSEQUENCES OF THIS LEASE.

LESSOR; LESSEE

Irwin Mortgnge Corporation, an Indiana Corporation
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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 15 of 18

Addendum

This is an Addendum to the Standard Office Lease-Net dated November 15, 2002 by and
between 1140 Galaxy Way Inc,, “Lessor, and Irwin Morigage Corporation, an indiana
corporation, "Léssee’, ,

1, Premises: The Premises identified under article 1,2 of the Lease and illustrated in Exhibit
“A” consists of approximately 9,165 rentable square feet of office space based on the local
area custom for measurement of single story “office, officerfiex” buildings.

2. Base Rent Schedule: The contract rental rate shail Include Operating Expenses but
‘ ‘otherwise shall be net of utllitles and janitorial serving the Premises, and In accordance
with the following schedule:

Month 1 - $0.00: Months 2-25 - $11,974.50 per month: Months 26 — 49 - $712,831.00 per
month; Months 80 - 73 - $13,747.50 per month. All rentals shall be due and payable on
’ the first day of each month, per paragraph 4.1 of the Lease.

3 Option to Terminate: Lessee shall-have 4 one time right to terminate the lease
agreement effective the end of the sixty first (61"} month of the tern by first providing
‘Lessee with () at least six month's Prior written notice of ifs Intent fo terminate and (i)
issuance to Lessor within five (5) days prior to the effective termination date @ check for
the early termination fee as consideration for the unamortized tenant improvements and
leasing commissions In the amount of $40,000.

2 PG&E & Janitorial Service: Lessee shall be responsible for directly contracting for and
payment of its own electrical and gas service to the Premises and for its own janitorial
service and supplles to the Premises. .

4, Parking: (a) Lessee shall be allowed the ‘use of 41 unassigned parking stalls, as
identified under article 2.2 of the Lease, {b) Should the City of Concord exercise its right
to use an existing easement through the parking lot of the Office Building Project to extand
Galaxy Way, then the number of parking stalls Lessor shall be obligated fo provide Lessee
shall be reduced to 37 stalls.

6. Tenant Improvements: Lessor, at Lessor's cost, shall provide tenant
Improvements te the Premises using building standard materials and finishes based on
the scope of work identified in the preliminary plans prepared by the Ryan Design Group
dated October 2, 2002 "the Preliminary Plans", and final construction drawings to be
agreed upon by Lessor and Lessee (“Lessors Tumkey Work"), Lessee shall sign off on

"the Preliminary Plans and the Construction Drawings, Lessor's managing agent shall
oversee the tenant Improvement construction. Lessor shall construct the Premises in
accordance with local codes and the ADA.

In the event Lessee requests changes to the above-described scope of work, Lessee
- Shall pay for any and all costs, which exceed the costs of Lessor’s Tumkey Work.
, Payment by Lessee to Lessor shall be mada Upon presentation of a cost estimate and
written authorization to proceed with the work or an invoice for completion of work and -
services as the case may be,

Lessor shall bid the construction to a minimum of two (2) contractors, Lessor shall be
responsible for hiring the contractor and ensuring the work is done in a timely and cost
effective manner. Lessor, after its raview of the bids and appropriate adjustments as .
required by Lessor in Lessor’s opinion to equally compare the bids, shall select the low
bidder to complete the work. .

Within thirty (80) days after substantial completion of the tenant improvements, as
evidenced by a Certificate of Occupancy and a punchlist of non-material items, Lessor
shall prosecute to completion the punchilst items.

7. Option fo Extend: , Subject to the provisions of this Paragraph, Lessee shall have the
right to extend the term of this Lease for an additional term (the “Extended Term’) of five
(5) years for the entire Premises. Lessee may exercise such right only by giving Lessor
written notice of exercise of such right on or before the date which is at least six (6)

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Case 07-11047-CSS Doc 1729-2 Filed 10/31/07 Page 16 of 18

months prior to the termination date of the Lease, and only If Lessee is in possession of
the Premises, has not sublet the entire Premises or assigned this Lease, and no event of
default exists under this Lease when Lessee exercises such Fight or when the Extended
Term is to commence. ff Lessee fails to exercise such right in accordance with this
Paragraph, such right shail terminate. if Lessee exercises such right in accordance with
this Paragraph, all of tha terms, covenants, and conditions of the Lease shall remain in
effect during the Extended Term, except that the Base Rent shall be reset at 95% of the
then Fair Market Rental Value. “Fair Markét Rental Value” shall mean the monthly rental
_fate per square foot, prevailing at the commencement of the Extended Tem for direct
leases, new or renewal, then being entered into for comparable space In comparable
buildings by comparable tenants for arms length transactions In the Northem 1-480
Corridor area and used for comparable purpose, Further consideration shall be given for
rental abatement provided, length of lease terms, sie and location of premises being
leased, tenant improvement allowances and other inducements granted In the comparable
“deals. The base year for Operating expenses and taxes shail be reset to thie calendar year
in which the Extended Term cornmences. Within thirty (30) days after Lessors receipt of
Lessee’s notice specified above, Lessor and Lessee shall meet, negotiate and attempt te
agree upon the falr market rental value for the Premises for the Extended Term. If Lessor
and Lessee have not agreed In writing on such fair market rental value within forty-five
(45) days of Lessor's receipt of Lessee’s netica specified above then, upon written notice ©
of either party to the other requesting a determination of such fair market rental value by
reai estate brokers or appraisers, such fair market value shall be determined by real estate
brokers or appraisers in accordance with the terms of the following paragraph
(Determination of Fair Market Rental Value). |f the fair market rental value of the
Pramises for the Extended Term is not determined by commencement of the Extended
term, Lessee shall pay Base Rent during the Extended Term, when due at the annual rate
payable during the last month of the initial term, subject to retroactive adjustment agreed
to between the parties upon final resolution of the rental rate in accordance with the
. following paragraph (Determination of Fair Market Rental Value).

& Determination of Fair Market Rental Value: Whenever, pursuant to this Addendum,
fair market rental is fo be determined by a single arbitrator, the procedures of this
Paragraph shall apply, The parties shail agree to use their best efforts to agree and elect
{and share the fees of) a single appraiser or unbiased real estate broker with at least five
(5) years of commercial real estate office appralsal or leasing experience in the County of
Contra Costa (“Arbitrator”), Each party shall, within ten (10) days after the notice of |
request for the determination of falr market rental value by single arbitrator, notify the other
party of the name and address of the-arbitrator recommended by such party. The parties
shall use best efforts to select the single Arbitrator in a timely manner. {f either Lessor or
Lessee shall fail to timely so recommend an arbitrator, the appointed arbitrator shall by

_ default become the single Arbitrator within (10) days after the failure of Lessor or Lessee,
as the casa may be, to so racommend an arbitrator. Once the single Arbitrator is
appointed, Lessor and Lessee shall each Independently submit to the Arbitrator Its
determination of the Fair Market Rent for the Extended Term. It is in Lessor’s and
Lessee's best interests to select a rate that that they baileve fairly and closely represents
Fair Market Rental Value as defined under the selection criteria under paragraph 7 above.

In the evant Lessor or Lessee sélect an arbitrarily low or high rate as the case may be,
the Arbitrator shall be forced to discard sald rate if the other selected rate is more fairly
representative of the Fair Market Rental Value, Such single Arbitrator shall, within thirty
(30) days after his or her recalpt of both Lessor’s and Lessee’s determinations of Fair
Market Rental Value, select one of the determinations to be the binding Fair Market Rental
Value. The arbitrator shall not have the right to impose a middie ground. For clarification

’ to the parties, the 5% discount referenced under paragraph 7 above shail be applied after

the Arbitrator’s decision is made, oo

3 Handicap Accessibility: Lessor shall be responsible for delivering the Building in
compliance with the Americans With Disabilities Act (ADA") as it relates to the Premises
and the common areas of the bullding. In addition, Lessor shall construct the
Improvements fo the Premises In accordance with the ADA. Lessee shall be responsible
for complying with the ADA as it regards the Premises from and after the Commencement
Date and continuing for the entire term of the Lease and any extansions thereof.

10. Roof Repairs, Ceiling Tiles and Light Fixtures: Lessor, at ifs expense, shall be
responsible for the cast of any roof repairs throughout.the Term of the lease. Additionally,
Lessor shall replace any ceiling tiles damaged from moisture due to the roof or
HVAC/machanical systems. Lessor shall replace building standard florescent fight bulbs
throughout the lease Term. .
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Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 17 of 18

11. Hazardous Substances; To the best of Lessor’s actual knowledge there is no Radon
Gas, Asbestos or other hazardous substances in or around the Bullding or Premises,
which pose a present danger to health, life or safety.

12. ° Non-Disturbance Agreement: Lossee will be provided a Non-Disturbance Agreement
from all current and future holders of a superior interest which states tha following:

Lessee agrees to subordinate this Lease to such morgage, deed of trust, ground leases,

overriding leases or superior leasas covering the whole or any portion of the Property, but

only if the hokler of such mortgage/ground leases executes and delivers to Lessee 4°
Subordination, Non-Disturbance and Attornment Agreement provided the Subordination,

Non-Disturbance and Atlorment Agreement shall not Increase the obligations or liabilities

of the Lessee or reduce the rights or remedies of the Lessee under this Lease.

Said Subordination, Non-Disturbance and Attomment Agreement shall be prepared by

’ Lessor’s fender and shall be in a commercially standard form. Lessor will use its best
efforts to cause Its current lender to provide the form of the Agreement within sixty (60)
days after execution of the Lease Agreement.

73. Consent by Lessor or Lessee: Whenever any provision in the Lease requirés either
parties consent, Lessor and Lessee agree that such consent shall not be unreasonably :
conditioned, withheld or delayed,

14, Operating Expense Exclusions: Operating Expenses shall include the reasonable and

necessary expenses, which are actually paid by Landiord in connection with the operation,

maintenance and repair of the Building, Premises and Project (collectively, tha *Projact”}

as reasonably determined in accordance with generally accepted accounting principles
(GAAP"), consletently applied, but specifically excluding the following:

i interest, principal, points and fees on, and any other costs relating to, any debt instrument
encumbering, or any other financing relating to, ail or any portion of the Project;
ih ground lease rental: ‘

ii} costs for utilities, services and other benefits that are provided selectively to other tenants
or occupants for thelr benefit and not provided to Tenant:

lv) costs, which are payable or-relmbursable to Landiord by warranties or guarantees,

, insurers or governmental authorities, Tenant, other tenants or occupants or otherwise;

v) lpasing, brokers’ and other feas and.com missions, attomeys' fees, court costs and other
legal expenses, space preparation costs, leasing inducements and concessions, and other
costs incurred in connection with leasing of the Project {including advartising, marketing
and promotional expenses) or negotiations or disputes with past, present, future or
prospective tenants or other occupants, of in enforcing leases, or in defense of Landlord's
interest in or title to the Project:

vi) management, administrative, coordination, supervision or similar fees, or Landlord's
general and administrative and overhead expenses, except for a property management
fee not to exceed two and one-half percent (2.5%) of Tenant's Rent;

vil) any improvements, alterations or other capital expenditures, or depreciation or
amortization thereof or of any portion of the Project or any Improvemenis or equipment
{and the costs of leasing HVAC, elevators and other equipment normally considered to be
of & capital nature); : .

viii) tenant improvement costs and other costs (including permit, license, inspection and other
fees) incurred in renovating or otherwise improving, decorating, painting or attering space
for Tenant, other tenants ar occupants or vacant space at the Project;

ix) repairs, alterations, additions, improvements, or replacements made to rectify or correct
any defect in the design, materials or workmanship of any portion of the Project, or to
comply with any faws or governmental regulations including ADA ahd state and local
disability access requirements; .

x) damage and repairs attributable to fire or other casualty:

xi) damage and repairs covered under any insurance pollcy carried by, or required to be
cartied by, Landlord In connection with the Project;

xi} damage and repairs caused by or necessitated by the negligence or willful misconduct of
Landlord or Landlord's agents, employees or contractors;

xiil} compensation, benefits and other costs of executives and employees above the grade of
building manager; ‘

xiv) compensation, benefits and other costs of all other personne! to the extent such personnel

, provide services not solely in connection with the operation or maintenance of the Project;

3

IrwinMortgageLs Add?

Case 07-11047-CSS Doc1729-2 Filed 10/31/07 Page 18 of 18

xv) Interest, penalties or other costs arising out of Landlord's failure to make timely payment

and performances of its obligations:

xvi} costs of or other amounts paid te subsidiaries or affiliates of Landlord for management or
other services for the Project or for supplies or other matarials to the extent that such
cosis or amounts exceed the competitive cost of similar services, supplies or materials
avaliable from third parties unrelated to Landlord;

' xvi) costs (Including expert and consulting fees and expenses) incurred to test, monitor,
. Survey, Cleanup, contain, abate, remove or othenvise remedy Hazardous Substances from

the Project: : .

xviii) rent for space within the Project or other locations;

xix} costs of sculptures, paintings, decorations and other objects of art;

xx) costs of any political, charitable, elvic or other contribution or donation; ,

xxl) any cost or expense which, under GAAP, would not be considered a normal or reasonable
maintenance and operating expense; for simitar projects in the same geographical area,

15. Base Year; Base year shall be adjusted fo reflect 100% occupancy and a fully assessed
building, :

76. Security. Lessee will have the right to install its own security system, subject to prior
written consent of Lessor, not to be unreasonably withheld, denied or conditioned,

17, Non-Disturbance: Léssor shall use its best efforts to provide a non-disturbance
agreement to Lessee within sixty (60) days of the Commencement Date.

78- Insurance Requirements: All insurance requirements required under the lease shall be
issued by Insurances. companies selected by Lessee, but subject to approval by Lessor,
which approval shall not be unreasonably withheld, The insurers must be of recognized
gocd standing with a rated of at lease A+ in Best's Key Rating Guide and must be licensed
‘ta do business in the state In which the property in located. .

19. Signage: Lessee shall not place any sign upon the Premises or the Office Bullding Project

- without Lessor’s prior written consent. Lessee shall have the non-exclusive right to place
its sign identification on the monument sign fronting the property at Lessee’s expense.
Additionally Lessee shall have the non-exclusive right, at Lessae’s sole expense, to place
its sign Identification on the building eyebrow abave its Premises. All signage requests
including renderings and plans shall be first presented fo Lessor for its review and
approval, Lessee’s signage shall be in building standard font, size and colors, Lesser

- shall require professional instaflation and watertight conditions for any building
penetrations. if required, Lessee shall also obtain tha approval of the City of Concord for
its signage requests. Lessor shall reasonably cooperate with Lessee where necessary for
Lessee to obtain its signage. Under no clrcumstancas shall Lessee place a sign on any
roof of the Office Building Project, , .

20. inconsistencies, In the event of any inconsistencies between the terms of this

Addendum and the terms of the Standard Office Lease-Net to which this Addendum is
attached, the terms of this Addendum shall control,

LESSOR: LESSEE:

1140 GALAXY WAY, INC, IRWIN-MORTGAGE CORPORATION, AN
INDE CORPORATION

hs Gon\ Remar Sztdis bpeo.

Date: Yaa. OZ

its: AT TORRY A

’ Date:

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